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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                                     Case No. 1:21-cr-174
 v.
                                                                     HON. JANET T. NEFF
 ULIE JOHNNIE WALKER,

       Defendant.
 ____________________________/


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed on November 1, 2021 by

the United States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1.      The Report and Recommendation of the Magistrate Judge (ECF No. 18) is

approved and adopted as the opinion of the Court.

        2.      Defendant’s pleas of guilty are accepted and defendant is adjudicated guilty of the

charges set forth in Counts One, Two and Three of the Indictment.



Dated: November 16, 2021                                       /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge
